     Case 4:21-cr-00009 Document 87 Filed on 07/20/21 in TXSD Page 1 of 11




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


 UNITED STATES OF AMERICA,

                      Plaintiff,

       v.                                         Cr. No. 4:21-cr-009-GCH

 ROBERT T. BROCKMAN.,

                      Defendant.



                 PETITIONER’S OPPOSED MOTION TO STRIKE

TO THE HONORABLE GEORGE C. HANKS JR., UNITED STATES DISTRICT
JUDGE:

       Petitioner Tangarra Consultants, Ltd. (“Petitioner”/“Tangarra”), a Bermudian

corporation, brings this Motion to Strike all references to Petitioner in the Indictment of

Defendant Robert Brockman (“Brockman”) as surplusage under Federal Rule of Criminal

Procedure 7(d). Petitioner is not charged in the Indictment.     See In re Smith, 656 F.2d

1101, 1104, n. 8 (5th Cir. 1981) (“approv[ing]” unindicted third-party “Petitioner’s motion

to strike” indictment allegations); United States v. Briggs, 514 F.2d 794, 797-99 (5th Cir.

1975) (holding unindicted third party has standing to seek removal of allegations against it

in indictment). Petitioner respectfully requests that the Court enter an order striking all

references to Petitioner in Indictment paragraphs 13, 165, 166, 169, 176, and 182.

       In support Petitioner states as follows:
       Case 4:21-cr-00009 Document 87 Filed on 07/20/21 in TXSD Page 2 of 11




  I.      SUMMARY OF ARGUMENT

          Long-established Fifth Circuit precedent holds that accusing a named third party of

wrongdoing in an indictment violates the party’s Fifth Amendment right to due

process. See United States v. Briggs, 514 F.2d 794, 806 (5th Cir. 1975); In re Smith, 656

F.2d 1101, 1106 (5th Cir. 1981). Briggs found that uncharged accusations damaged third

parties’ “employment opportunities” and “economic interests,” which are “within the

‘liberty’ and ‘property’ concepts of the Fifth Amendment.” Briggs, 514 F.2d at 798. The

court held that third parties have standing to challenge such accusations, and that courts

may strike or expunge references to third parties in an indictment. Id. at 799, 808. The

Fifth Circuit in Smith also approved the form of this Motion for bringing such challenges.

Smith, 656 F.2d at 1104, n. 8 (“approv[ing]” third-party “Petitioner’s motion to strike and

seal”).

          Despite clear Fifth Circuit precedent prohibiting precisely what the Government has

done here, the Brockman Indictment names Tangarra eleven times, falsely alleging that

Tangarra somehow participated in Brockman’s alleged misconduct. This represents a clear

violation of Petitioner’s Fifth Amendment due process rights, for which Petitioner now

seeks relief from this Court.

II.       STATEMENT OF THE ISSUE

          Whether the Government violated the unindicted third-party Petitioner’s Fifth

Amendment due process rights by publicly accusing it of wrongdoing in the Indictment.

See Briggs, 514 F.2d 794 at 806.



                                               2
       Case 4:21-cr-00009 Document 87 Filed on 07/20/21 in TXSD Page 3 of 11




III.    STATEMENT OF THE PROCEEDINGS

        On October 1, 2020, a federal grand jury in San Francisco, California issued a 39-

count indictment of Robert Brockman (the “Brockman Indictment”) on charges including

tax evasion, wire fraud, money laundering, and other offenses.        The case was later

transferred to this Court. See Order of Transfer, ECF No. 1. No party other than Brockman

was charged in the Indictment.

        The Brockman Indictment alleges, among other things, that Brockman “engaged in

a fraudulent scheme to deceive the purchasers and sellers” of debt by using Tangarra and

another entity to purchase debt, while concealing that Tangarra was controlled by

Brockman. Brockman Indictment ¶ 165, ECF No. 2. According to the indictment,

Brockman “affirmatively conceal[ed] from sellers of the Debt the valuable economic

information that the Debt purchasers Edge and Tangarra were under common control” of

Brockman. Id. at ¶ 166. The Indictment further alleges that Brockman used material, non-

public information in purchasing debt through Tangarra. Id. at ¶ 169. According to the

Indictment, Individual One sent three emails to Deutsche Bank “purporting to describe the

ownership and control” of Tangarra without disclosing that Brockman controlled Tangarra.

Id. at ¶ 176. The Indictment names Tangarra eleven times in connection with the debt-

purchasing scheme.

        Tangarra is not charged in the Indictment.

IV.     ARGUMENT

           a. Fifth Circuit Precedent Prohibits Accusing Third Parties of
              Wrongdoing in an Indictment



                                             3
     Case 4:21-cr-00009 Document 87 Filed on 07/20/21 in TXSD Page 4 of 11




       A long line of Fifth Circuit precedent holds that the Fifth Amendment’s guarantee

of due process prohibits the Government from publicly accusing uncharged third parties of

wrongdoing. See Briggs, 514 F.2d at 806. In Briggs third-party petitioners challenged an

indictment that named them as “unindicted coconspirators.” Id. at 796-97. The Fifth

Circuit first found that third-party petitioners had standing to challenge the indictment

because they “complain[ed] of injury to their good names and reputations and impairment

of their ability to obtain employment,” which “courts have recognized in many contexts

that these are substantial and legally cognizable interests entitled to constitutional

protection against official governmental action that debases them.” Id. The court then held

on the merits that “the grand jury acted beyond its historically authorized role,” with “no

substantial interest served by its doing so,” in violation of the petitioners’ due process

rights. Id. at 806. The Fifth Circuit thus directed the district court to “expunge from Count

One of the indictment described above all references to appellants.” Id. at 808.

       The principle first announced in Briggs also applies broadly to other circumstances

where the Government publicly accuses an uncharged party:

       The government argues that Briggs only forbids the naming of unindicted
       coconspirators by a federal grand jury. We cannot agree. The point made in
       the Briggs decision is that no legitimate governmental interest is served by
       an official public smear of an individual when that individual has not been
       provided a forum in which to vindicate his rights. We can think of no reason
       to distinguish between an official defamation originating from a federal
       grand jury or an Assistant United States Attorney.

In re Smith, 656 F.2d 1101, 1106 (5th Cir. 1981) (emphasis added) (factual resumes read

in open court accusing third parties of wrongdoing).




                                             4
     Case 4:21-cr-00009 Document 87 Filed on 07/20/21 in TXSD Page 5 of 11




       The Fifth Circuit continues to apply Briggs. See Doe v. United States, 853 F.3d

792, 801 (5th Cir. 2017); United States v. Holy Land Found. For Relief & Dev., 624 F.3d

685, 688 (5th Cir. 2010). Courts outside the Fifth Circuit also follow this line of precedent.

See United States v. Chadwick, 556 F.2d 450 (9th Cir. 1977) (per curiam); Application of

Jordan, 439 F.Supp. 199 (S.D. W.Va. 1977); United States v. Anderson, 55 F. Supp. 2d

1163 (D. Kan. 1999). Moreover, Briggs applies with the same force to legal entities as it

does to natural persons. Thus, the U.S. District Court for the Northern District of Texas

and the Fifth Circuit have both applied Briggs to entities accused of wrongdoing, 1 see

United States v. Holy Land Found. for Relief & Development, No. 3:04-CR-0240-P, 2009

WL 10680203, at *1 (N.D. Tex. July 1, 2009) (finding violations of third-party entities’

Fifth Amendment rights), aff’d in relevant part, 624 F.3d 685, 688 (5th Cir. 2010), as has

at least one other district court, see United States v. Smith, 992 F. Supp. 743, 754 (D.N.J.

1998) (“[T]he innuendoes and implications in the memorandum directly impact on the

business of both GTECH and the uncharged individual, leaving them as if they were ‘just

as defenseless as the medieval prisoner and the victim of the lynch mob.’” (quoting Briggs,

514 F.2d at 803)).



       1
         Because long-settled Supreme Court precedent recognizes that legal entities
possess due process rights, particularly relating to their property interests, it would be
anomalous to deny Briggs protection to an entity. See e.g., Minneapolis & St. L. Ry. Co.
v. Beckwith, 129 U.S. 26, 28 (1889) (“[C]orporations can invoke the benefits of provisions
of the constitution and laws which guaranty to persons the enjoyment of property, or afford
to them the means for its protection, or prohibit legislation injuriously affecting it.”); cf.
Grosjean v. Am. Press Co., 297 U.S. 233, 244 (1936) (“[A] corporation is a ‘person’ within
the meaning of the equal protection and due process of law clauses” of the Fourteenth
Amendment).

                                              5
      Case 4:21-cr-00009 Document 87 Filed on 07/20/21 in TXSD Page 6 of 11




       The U.S. Department of Justice has adopted the principle against accusing third

parties in its Justice Manual. See Justice Manual § 9-27.760 (“As a series of cases makes

clear, there is ordinarily ‘no legitimate governmental interest served’ by the government’s

public allegation of wrongdoing by an uncharged party” (quoting Smith, 656 F.2d at 1106-

07)). The Manual reasons, “In most cases, any legitimate governmental interest in referring

to uncharged third-party wrongdoers can be advanced through means other than those

condemned in this line of cases.” Id. Thus, “when the defendant engaged in joint criminal

conduct with others, generic references (‘another individual’) to the uncharged third-party

wrongdoers can be used when describing the factual basis for the defendant’s guilty plea.”

Id.

       In short, it is well-settled law—recognized by the Department of Justice—that

indictments cannot accuse named third parties of wrongdoing.

          b. The Government Violated Petitioner’s Due Process Rights By Accusing
             Petitioner of Wrongdoing in the Indictment

       Despite unambiguous precedent prohibiting the practice, the Brockman Indictment

repeatedly alleges that Tangarra—identified by name—participated in the charged scheme.

See Brockman Indictment ¶¶ 165-76. The Government has no legitimate interest in making

these accusations. See Smith, 656 F.2d at 1106 (“[N]o legitimate governmental interest is

served by an official public smear of an individual when that individual has not been

provided a forum in which to vindicate his rights.”). The Justice Manual, respecting

Briggs, directs prosecutors to refer to uncharged third party with generic references,

see Justice Manual § 9-27.760, and the Government followed that practice in other



                                            6
     Case 4:21-cr-00009 Document 87 Filed on 07/20/21 in TXSD Page 7 of 11




instances in the Brockman Indictment. Any possible interest the Government may have in

referencing Tangarra in the Brockman Indictment could have been served by referring to

it generically rather than by name.

       To make matters worse, the Government has even acknowledged that the core

allegations of wrongdoing against Tangarra are false. The Brockman Indictment alleges

that “BROCKMAN, together with others known and unknown to the Grand Jury, engaged

in a fraudulent scheme to deceive the purchasers and sellers of the Debt, through the

Administrative Agent Deutsche Bank, using Edge and Tangarra to purchase Debt . . .”

Brockman Indictment ¶ 165 (emphasis added). But Tangarra did not purchase the debt

described in the Indictment; indeed, the Government has acknowledged as much in an

email to Tangarra’s counsel, stating the Government had “misunderstood” certain

documents and acknowledging “Tangarra was NOT a purchaser of debt.” See Exhibit 1,

Feb. 2, 2021 Email. This admission plainly contradicts the Indictment. 2




       2
         Although the allegations here are false, it is important to note that Briggs forecloses
even true accusations of wrongdoing against unnamed third parties—the due process
violation comes from the denial of a forum to rebut the accusation, not from the
accusation’s accuracy. See Briggs, 514 F.2d at 807-08 (“[P]robable cause on the basis of
which the grand jury might have made the unindicted conspirator a defendant is unrelated
to the question of whether the grand jury may accuse him without making him a
defendant.”); see also Delpit v. Beckner, 481 F. Supp. 42, 46, n.3 (M.D. La. 1979) (“The
government declares that at the trial [of the defendants] evidence was offered tending to
show the correctness of the allegations in the indictment relating to [the third-party
petitioner]. Assuming that to be so, it has no relevance to the issues here. As pointed out in
Briggs, probable cause on the basis of which the grand jury might have made [the third-
party petitioner] a defendant is unrelated to the question of whether the grand jury may
accuse him without making him a defendant.”).

                                               7
     Case 4:21-cr-00009 Document 87 Filed on 07/20/21 in TXSD Page 8 of 11




       Petitioner possesses “substantial and legally cognizable interests entitled to

constitutional protection” in its “good name[] and reputation[.]” Briggs, 514 F.2d at 797.

The Government has “debased” these interests by using the “imprimatur of credibility”

from a grand jury indictment to accuse Petitioner of wrongdoing. Id. at 797, 803, 805; see

also Smith, 656 F2d at 1107 (“The presumption of innocence, to which every criminal

defendant is entitled, was forgotten by the Assistant United States Attorney in drafting and

reading aloud in open court the factual resumes which implicated the Petitioner in criminal

conduct without affording him a forum for vindication.”). The accusations are thus “a

violation of [Petitioner’s] liberty and property rights guaranteed by the Constitution.”

Smith, 656 F.2d at 1107.

          c. Striking References to Tangarra is the Appropriate Remedy

       To remedy the Government’s violation of the petitioner’s due process rights, the

Fifth Circuit in Smith ordered the clerk of the district court to “completely and permanently

obliterate and strike from the records of the pleas of guilty . . . any and all identifying

reference to or name of Mr. Smith, the Petitioner.” Smith, 656 F.2d at 1107; see also

Briggs, 514 F.2d at 808 (remanding to district court with directions to “expunge from

Count One of the Indictment described above all references to appellants”). Other courts

have endorsed similar remedies. See e.g., Delpit v. Beckner, 481 F. Supp. 42, 46 (M.D.

La. 1979) (ordering the clerk to “expunge from the grand jury indictment . . . all references

to” the petitioner); Application of Jordan, 439 F. Supp. 199, 209 (S.D.W. Va. 1977)

(ordering the name of the petitioner “be expunged from the indictment and any and all

subsequent official documents forming a part of the official record”); cf. United States v.


                                             8
      Case 4:21-cr-00009 Document 87 Filed on 07/20/21 in TXSD Page 9 of 11




Anderson, 55 F. Supp. 2d 1163, 1168 (D. Kan. 1999) (“Were the court to expunge all

references to the movants as ‘coconspirators’ from the public record, make a finding that

their due process rights had been violated, and further find that the government’s proof fell

far short of proving their criminal culpability, the movants could forevermore proclaim

their vindication to anyone expressing concern about the government’s allegations.”).

       The same remedy is appropriate here: all references to Tangarra should be struck

from the Indictment. 3 Striking references to Tangarra is the only way to ensure that “such

references may not be used as a public record to impugn the reputation of Petitioner[s].”

Smith, 656 F.2d at 1107. Such a remedy is well within the power of the Court. See Briggs,

514 F.2d at 806-07 (“We conclude, without the necessity of adopting a particular

characterization, that a federal court has the power to expunge unauthorized grand jury

action.”).

 V.    CONCLUSION

       Petitioner respectfully request that this order the striking of Tangarra’s name, and

any references to Tangarra, from the Indictment.




       3
         Petitioner does not ask the Court to seal its opinion and order on this matter, as a
public order declaring Petitioner’s rights were violated would constitute crucial relief. See
United States v. Holy Land Found. For Relief & Dev., 624 F.3d 685, 690-91 (5th Cir. 2010)
(finding the district court abused its discretion in sealing its order and opinion finding a
violation of the third-party petitioner’s Fifth Amendment rights, reasoning the petitioner’s
“interest in mitigating its reputational injuries favored disclosure”).

                                             9
Case 4:21-cr-00009 Document 87 Filed on 07/20/21 in TXSD Page 10 of 11




                                       Respectfully Submitted,

                                       HILDER & ASSOCIATES, P.C.

                                       /S/ Philip H. Hilder__________________
                                       Philip H. Hilder
                                       Texas Bar No. 09620050
                                       Q. Tate Williams
                                       Texas Bar No.: 24013760
                                       819 Lovett Blvd.
                                       Houston, Texas 77006
                                       (713) 655-9111–telephone
                                       (713) 655-9112–facsimile
                                       philip@hilderlaw.com
                                       tate@hilderlaw.com




  Of Counsel:
  Paul Rauser
  Branden Lewiston
  Aegis Law Group, LLP
  801 Pennsylvania Ave., NW
  Washington D.C. 20004
  Telephone (202) 737-3375
  Facsimile (202) 737-3330




                                  10
    Case 4:21-cr-00009 Document 87 Filed on 07/20/21 in TXSD Page 11 of 11




                           CERTIFICATE OF CONFERENCE

       Petitioner’s counsel, Paul Rauser, conferred with the Government counsel, and was
advised on July 16, 2021, that it is opposed to this Motion. Petitioner’s counsel did not
confer with Defendant Robert Brockman, as Petitioner’s request for relief solely relates to
the Government, and therefore, for the purposes of this motion, Defendant is not a
“respondent” under the CrLR12.2 or an “opposing” party under this Court’s Procedure
6(C)(1).

                                                  /S/ Philip H. Hilder__________________
                                                  Philip H. Hilder



                              CERTIFICATE OF SERVICE

       I certify that on July 20, 2021, I electronically submitted the following document
with the Clerk of Court for the U.S. District Court for the Southern District of Texas, using
the electronic case filing system of the Court. The electronic case filing system sent a
“Notice of Electronic Filing” to individuals who have consented in writing to accept this
Notice as service of this document by electronic means.


                                                  /S/ Philip H. Hilder__________________
                                                  Philip H. Hilder
                                                  Texas Bar No. 09620050
                                                  819 Lovett Blvd.
                                                  Houston, Texas 77006
                                                  (713) 655-9111–telephone
                                                  (713) 655-9112–facsimile
                                                  philip@hilderlaw.com


       Of Counsel:
       Paul Rauser
       Branden Lewiston
       Aegis Law Group, LLP
       801 Pennsylvania Ave., NW
       Washington D.C. 20004
       Telephone (202) 737-3375
       Facsimile (202) 737-3330



                                             11
